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				IN RE REVISION OF PORTION OF RULES OF COURT OF CRIMINAL APPEALS2015 OK CR 15Case Number: CCAD-2015-3Decided: 11/12/2015
Cite as: 2015 OK CR 15, __  __

				

&nbsp;




ORDER ADOPTING REVISION IN AND REPUBLISHING PORTION
OF THE RULES OF THE COURT OF CRIMINAL APPEALS


¶¶1 We find that revision of the Rules for the Oklahoma Court of Criminal Appeals is necessary to ensure that the district courts of the State cause the district court clerk to report departures from the mandatory minimum sentence as required by 22 O.S.Supp.2015, §§ 985.1 and report criminal convictions pursuant to the provisions of 63 O.S.Supp.2013, §§ 2-701; 26 O.S.2011, §§ 4-120.4; and Rule 7.2, Oklahoma Rules of Professional Conduct, 5 O.S.Supp.2014, ch. 1, app. 1-A. Pursuant to the provisions of Section 1051(b) of Title 22 of the Oklahoma Statutes, we hereby revise, adopt, promulgate and republish portions of the Rules of the Oklahoma Court of Criminal Appeals, 22 O.S.Supp. 2013, Ch. 18, App. (2015), set forth as follows and as set out in the attachment to this order:



SECTION XIII. FORMS
FORM 13.8 Uniform Judgment and Sentence
FORM 13.10 Uniform Plea of Guilty- -Summary of Facts



¶¶2 IT IS THEREFORE ORDERED ADJUDGED AND DECREED that these revisions shall become effective on the date of this order.

¶¶3 IT IS THE FURTHER ORDER OF THIS COURT that these revisions shall be available for access via the internet from this Court's web site www.okcca.net on the date of this order and provided to West Publishing Company for publication. The Administrative Office of the Courts is requested to duplicate and provide copies of the revisions to the judges of the District Courts and the District Courts of the State of Oklahoma are directed to implement the utilization of these revisions effective on the date of this order.

¶¶4 IT IS SO ORDERED.

¶¶5 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 12th day of November, 2015.


/s/CLANCY SMITH, Presiding Judge

/s/GARY L. LUMPKIN, Vice Presiding Judge

/s/ARLENE JOHNSON, Judge

/s/DAVID LEWIS, Judge

/s/ROBERT HUDSON, Judge


ATTEST:

/s/Michael S. Richie
Clerk


&nbsp;


&nbsp;

Form 13.8 Uniform Judgment and Sentence

IN THE DISTRICT COURT OF _____________________________ COUNTY
THE STATE OF OKLAHOMA


	
		
			
			STATE OF OKLAHOMA ,
			
			Plaintiff ,
			
			vs.
			
			__________________________________,
			
			Defendant.
			
			
			)
			)
			)
			) No.:________________
			)
			)
			)
			)
			
			
			&nbsp;
			
		
	


DOB: ____________
SS#: ____________

JUDGMENT AND SENTENCE

Now, on this ___ day of ________, 20___, this matter comes on before the undersigned Judge, for sentencing and the Defendant, _________________________, appears personally and by Attorney _________________________, the State of Oklahoma represented by _________________________, and the Defendant, having previously:

( ) Entered a plea of guilty
( ) Entered a plea of Nolo Contendere
( ) Been found guilty by jury
( ) Been found guilty by Judge after waiver of jury trial
( ) Other __________________________________________________

to/of the crime(s) of: Statutory Reference

Count ________: ______________________________________________ ____ O.S.______
Count ________: ______________________________________________ ____ O.S.______
Count ________: ______________________________________________ ____ O.S.______

(Attach additional sheet for additional counts or if computerized, add to body of Judgment and Sentence at each appropriate place.)


	
		
			
			( )
			
			
			The defendant has previously been convicted of _____ (insert number) felony crimes and the sentence has been enhanced in accordance with the provisions set forth in ____ O.S. _____; and,
			
		
	


IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED by the Court that the Defendant, _________________________, is guilty of the above described offenses and is sentenced as follows:

TERM OF IMPRISONMENT

COUNT SENTENCED TO A TERM OF
______ ____________________________________________
______ ____________________________________________
______ ____________________________________________

under the custody and control of:

( ) Oklahoma Department of Corrections;
( ) the _______________ County Sheriff ; or
( ) other: ____________________________________________________

These terms to be served as follows (consecutive/concurrent):
_________________________________________________________________
_________________________________________________________________

Upon release from such confinement, the Defendant shall serve a term of post-imprisonment supervision, under conditions prescribed by the Department of Corrections, for a period of:
_________________________________________________________________
_________________________________________________________________

TERM OF IMPRISONMENT WITH EXECUTION OF SENTENCE

SUSPENDED IN PART
(Attach additional sheet(s) to clarify, if necessary)

COUNT SENTENCED TO A TERM OF
______ ____________________________________________
______ ____________________________________________
______ ____________________________________________

with all except the first ___________ suspended under the custody and control of:

( ) Oklahoma Department of Corrections; or
( ) the _______________ County Sheriff ,

pursuant to the rules and conditions of probation entered by the court.
These term(s) to be served as follows (consecutive/concurrent):
_________________________________________________________________
_________________________________________________________________

TERMS OF IMPRISONMENT WITH EXECUTION OF SENTENCE SUSPENDED 
(Attach additional sheet(s) to clarify, if necessary)

COUNT SENTENCED TO A TERM OF
________ ____________________________________________
________ ____________________________________________
________ ____________________________________________

under the custody and control of:

( ) Oklahoma Department of Corrections; or
( ) the _______________ County Sheriff ,

all of said term(s) of imprisonment suspended pursuant to the rules and conditions of probation entered by the court.

These term(s) to be served as follows (consecutive/concurrent):
_________________________________________________________________
_________________________________________________________________

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED BY THE COURT that in addition to the preceding terms, the Defendant is also sentenced to:

FINE

( ) The defendant shall pay a fine of $___________

( ) immediately; or

( ) on or before ________ ___, 20__ at the rate of $_________ per ____________, or within ________ days of release from the Department of Corrections.

( ) payment of $__________ is suspended pursuant to Rules and Conditions of probation.

COSTS, VCA, RESTITUTION


	
		
			
			( )
			
			
			The defendant shall pay costs, fees, and restitution in accordance with the
			schedule attached as Exhibit ______.
			
		
	


RULES AND CONDITIONS OF PROBATION

The rules and conditions of probation as ordered by the court and signed by the defendant, acknowledging his/her understanding of the rules and conditions, are incorporated as Exhibit ______.

ATTORNEY FEES


	
		
			
			( )
			
			
			The defendant shall pay court-appointed attorney fee in the amount of
			$________________ on or before ____________, 20____, to
			__________________________________________________________.
			
		
	


HEARING ON ABILITY TO PAY AFTER INCARCERATION


	
		
			
			( )
			
			
			The defendant shall report to the District Court of ________ County within _______ days of release for a hearing on the defendant's ability to pay fines and costs pursuant to Section VIII of the Rules of the Court of Criminal Appeals, 22 O.S., Ch. 18, App.
			
		
	


IT IS FURTHER ORDERED that judgment is hereby entered against the Defendant as to the fines, costs and assessments set forth above.

The Court further advised the Defendant of his/her rights and procedure to appeal to the Court of Criminal Appeals of the State of Oklahoma, and that if he/she desired to appeal and was unable to afford counsel and a transcript of the proceedings, that the same would be furnished by the State subject to reimbursement of the cost of representation in accordance with Sec. 1355.14 of Title 22. The Court further advised the Defendant that, in the event the above sentence is for a crime involving domestic violence where the Defendant is or was a spouse, intimate partner, parent, or guardian of the victim or is or was involved in another similar relationship with the victim, it may be unlawful for him or her to possess, purchase, receive, transport or ship a firearm including a rifle, pistol or revolver or ammunition pursuant to federal law under 18 U.S.C. Section 9922(g)(8) or (9), or state law, or both.

In the event the above sentence is for incarceration in the Department of Corrections, the Sheriff of ___________ County, Oklahoma, is ordered and directed to deliver the Defendant to the Lexington Assessment and Reception Center at Lexington, Oklahoma, and leave therewith a copy of this Judgment and Sentence to serve as warrant and authority for the imprisonment of the Defendant as provided herein. A second copy of this Judgment and Sentence to be warrant and authority of the Sheriff for the transportation and imprisonment of the Defendant as herein before provided. The Sheriff to make due return to the Clerk of this Court, with his proceedings endorsed thereon.

COURT CLERK'S DUTY
[Trial Judge to complete this section]

IT IS FURTHER ORDERED that the Clerk of this Court shall register or report the following circumstances in accordance with the applicable statutory authority:

( ) As to Count(s)_____, the defendant is ineligible to register to vote pursuant to Section 4-101 of Title 26.

( ) Pursuant to Section 985.1 of Title 22, the Court departed from the mandatory minimum sentence of imprisonment as to Count(s) _______.

( ) As to Count(s)_____, the defendant is subject to the Methamphetamine Offender Registry requirements as set forth in Section 2-701 of Title 63.

( ) Defendant is a lawyer and certified copies of this document shall be transmitted to the Chief Justice of the Supreme Court and the General Counsel of the Bar Association within five (5) days as set forth in Rule 7.2 of the Oklahoma Rules of Professional Conduct, 5 O.S.Supp.2014, ch. 1, app. 1-A.

Witness my hand the day and year first above mentioned.


	
		
			
			
			
			(SEAL)
			
			
			___________________________________
			JUDGE OF THE DISTRICT COURT
			___________________________________
			(Name of Judge Typed)
			
		
		
			
			ATTEST:
			
			
			________________________
			Court Clerk
			________________________
			Deputy Clerk
			
		
		
			
			&nbsp;
			
			
			&nbsp;
			
			
			&nbsp;
			
		
	


CLERK'S CERTIFICATION OF COPIES

I, ___________________, Clerk of the District Court of____________ County, State of Oklahoma, do hereby certify the foregoing to be true, correct, full and complete copy of the original Judgment and Sentence in the case of the State of Oklahoma vs. ________________ as the same appears of record in my office.

WITNESS my hand and official seal this ___ day of ________, 20___.


	
		
			
			(SEAL)

			By:
			
			
			________________________
			Court Clerk
			________________________
			Deputy Court Clerk
			
		
	


SHERIFF'S RETURN

I received this Judgment and Sentence the ___ day of ______, 20___, and executed it by delivering the Defendant to the Warden of the Lexington Assessment and Reception Center at Lexington , Oklahoma , on the ___ day of ______, 20___. I also certify the above prisoner has served ___ days in the County Jail on the present charge or charges.

_______________________
Sheriff
_______________________
Deputy Sheriff

&nbsp;


&nbsp;

Form 13.10 Uniform Plea of Guilty - Summary of Facts

IN THE DISTRICT COURT OF ____________________________ COUNTY
THE STATE OF OKLAHOMA


	
		
			
			STATE OF OKLAHOMA,
			
			Plaintiff,
			
			vs.
			
			
			_____________________________________,
			
			Defendant.

			SS#______________ D.O.B._________
			__________________________________
			__________________________________
			(Home Address)
			
			
			)
			)
			)
			)
			)
			)
			)
			)
			)
			)
			)
			)
			
			
			
			Case No. _____________________

			[NOTE: The trial judge shall ensure the defendant is sworn either prior to completing the Summary of Facts or prior to inquiry by the Court on the Plea. If the defendant is entering a nolo contendere, or other type guilty plea, correct by pen change where term "guilty" used.]
			
		
	


PLEA OF GUILTY 
SUMMARY OF FACTS

Part A: Findings of Fact, Acceptance of Plea


	
		
			
			&nbsp;
			
			
			&nbsp;
			
			
			CIRCLE
			
		
		
			
			1.
			
			
			Is the name just read to you your true name?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			If no, what is your correct name? ______________________________________

			I have also been known by the name(s):__________________________________________________________
			
			
			&nbsp;
			
		
		
			
			2.
			
			
			My lawyer's name is_________________________________________________
			
			
			&nbsp;
			
			
			&nbsp;
			
		
		
			
			3.
			
			
			(a) Do you wish to have a record made of these proceedings by a Court Reporter?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			(b) Do you wish to waive this right?
			
			
			Yes No
			
		
		
			
			4.
			
			
			Age:______ Grade completed in school:____________
			
			
			&nbsp;
			
		
		
			
			5.
			
			
			Can you read and understand this form? (If the answer above is no, Addendum A is to be completed and attached.)
			
			
			Yes No
			
		
		
			
			6.
			
			
			Are you currently taking any medications or substances which affect your ability to understand these proceedings?
			
			
			Yes No
			
		
		
			
			7.
			
			
			Have you been prescribed any medication that you should be taking, but you are not taking?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			If so, what kind and for what purpose?______________________________________
			
			_____________________________________________________________________
			
			
			&nbsp;
			
		
		
			
			8.
			
			
			Have you ever been treated by a doctor or health professional for mental illness or confined in a hospital for mental illness?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			If yes, list the doctor or health professional, place, and when occurred:
			
			______________________________________________________________________
			
			______________________________________________________________________
			
			
			&nbsp;
			
		
		
			
			9.
			
			
			Do you understand the nature and consequences of this proceeding?
			
			
			Yes No
			
		
		
			
			10.
			
			
			Have you received a copy of the Information and read its allegations?
			
			
			Yes No
			
		
		
			
			11.
			
			
			Does the State move to dismiss or amend any case(s) or count(s) in the information or on page 2 of the information? If so, set forth the cases/counts dismissed or amended.
			
			_______________________________________________________________________
			
			_______________________________________________________________________
			
			
			Yes No
			
		
		
			
			12.
			
			
			A. Do you understand you are charged with:
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			Crime Statutory Reference
			
			
			&nbsp;
			
		
		
			
			(1)
			
			
			_________________________ _______O.S._________
			
			
			Yes No
			
		
		
			
			(2)
			
			
			_________________________ _______O.S._________
			
			
			Yes No
			
		
		
			
			(3)
			
			
			_________________________ _______O.S._________
			
			
			Yes No
			
		
		
			
			(4)
			
			
			_________________________ _______O.S._________
			
			
			Yes No
			
		
		
			
			For additional charges: List any additional charges on a separate sheet and label as PLEA OF GUILTY ADDENDUM B.
			
			
			&nbsp;
			
		
		
			
			B.
			
			
			Are you charged after former conviction of a felony?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			If yes, list the felony(ies) charged:____________________________________________
			
			________________________________________________________________________
			
			________________________________________________________________________
			
			
			&nbsp;
			
		
		
			
			13.
			
			
			Have you previously been convicted of a felony? If so, when, where and for what felony/felonies? ____________________________________________________________
			
			_________________________________________________________________________
			
			
			&nbsp;
			
		
		
			
			14.
			
			
			____ (Check if applicable) Do you understand you are subject to the Delayed Sentencing Program for Young Adults and what that sentencing program involves?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			____ (Check if applicable) Do you understand that upon a conviction on a plea of guilty to the offense(s) of ___________________________________________________ you will be required to serve a minimum sentence of:
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			_____ 85% of the sentence of imprisonment imposed before being eligible for parole consideration and are not eligible for earned or other type of credits which will have the effect of reducing the length of sentence to less than 85% of the sentence imposed?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			_____ ____% of the sentence of imprisonment imposed or received prior to becoming eligible for state correctional earned credits toward completion of your sentence or eligibility for parole?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			_____ (Check if applicable) Do you understand that a conviction on a plea of guilty to the offense(s) of _________________________________ will subject you to mandatory compliance with the Oklahoma Sex Offender Registration Act?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			_____ (Check if applicable) Do you understand that any person sentenced to imprisonment for two (2) years or more for the ofense(s) of _________________________________, involving sexual abuse, sexual exploitation or illegal sexual conduct shall be required to serve a term of post-imprisonment supervision for at least three (3) years under conditions determined by the Department of Corrections in addition to the actual term of imprisonment. There will be no post-imprisonment supervision for a sentence of life or life without the possibility of parole for offenses involving sexual abuse, sexual exploitation, or illegal sexual conduct.
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			_____ (Check if applicable) Do you understand that a conviction on a plea of guilty to the offense(s) of _________________________________ will subject you to mandatory compliance with the Oklahoma Methamphetamine Offender Registry Act?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			_____ (Check if applicable) Do you understand that the Court is required to include in the sentence of any person convicted of a felony and sentenced to a term of imrisonment after November 1, 2012, a term of post-imprisonment supervision? The post-imprisonment supervision shall be for a period of not less than nine (9) months nor more than one (1) year following confinement of the person and shall be served under conditions prescribed by the Department of Corrections. There will be no post-imprisonment supervision for a sentence of life without the possibility of parole.
			
			
			Yes No
			
		
		
			
			15.
			
			
			What is the charge(s) to which the defendant is entering a plea today?
			
			_________________________________________________________________________
			
			_________________________________________________________________________
			
			_________________________________________________________________________
			
			_________________________________________________________________________
			
			
			&nbsp;
			
		
		
			
			16.
			
			
			Do you understand the range of punishment for the crime(s) is/are: (List in same order as in No. 9 above.)
			
			
			&nbsp;
			
		
		
			
			(1)
			
			
			Minimum of ________ to a maximum of ________ and/or a fine of $_______
			
			
			Yes No
			
		
		
			
			(2)
			
			
			Minimum of ________ to a maximum of ________ and/or a fine of $_______
			
			
			Yes No
			
		
		
			
			(3)
			
			
			Minimum of ________ to a maximum of ________ and/or a fine of $_______
			
			
			Yes No
			
		
		
			
			(4)
			
			
			Minimum of ________ to a maximum of ________ and/or a fine of $_______
			
			
			Yes No
			
		
		
			&nbsp;
			
			&nbsp;
			
		
		
			
			17.
			
			
			Read the following statements: You have the right to a speedy trial before a jury for the determination of whether you are guilty or not guilty and if you request, to determine sentence. (If pleading to capital murder, advise of procedure in 21 O.S. § 701.10(B)). At the trial:
			
			
			&nbsp;
			
		
		
			
			(1)
			
			
			You have the right to have a lawyer represent you, either one you hire yourself or if you are indigent a court appointed attorney.
			
			
			&nbsp;
			
		
		
			
			(2)
			
			
			You are presumed to be innocent of the charges.
			
			
			&nbsp;
			
		
		
			
			(3)
			
			
			You may remain silent or, if you choose, you may testify on your own behalf.
			
			
			&nbsp;
			
		
		
			
			(4)
			
			
			You have the right to see and hear all witnesses called to testify against you and the right to cross-examine them.
			
			
			&nbsp;
			
		
		
			
			(5)
			
			
			You may have your witnesses ordered to appear in court to testify and present evidence of any defense you have to these charges.
			
			
			&nbsp;
			
		
		
			
			(6)
			
			
			The state is required to prove your guilt beyond a reasonable doubt.
			
			
			&nbsp;
			
		
		
			
			(7)
			
			
			The verdict of guilty or not guilty decided by a jury must be unanimous. However, you can waive a jury trial and, if all parties agree, the case could be tried by a Judge alone who would decide if you were guilty or not guilty and if guilty, the appropriate punishment.
			
			
			&nbsp;
			
		
		
			
			&nbsp;
			
			
			Do you understand each of these rights?
			
			
			Yes No
			
		
		
			
			18.
			
			
			Do you understand by entering a plea of guilty you give up these rights?
			
			
			Yes No
			
		
		
			
			19.
			
			
			Do you understand that a conviction on a plea of guilty could increase punishment in any future case committed after this plea?
			
			
			Yes No
			
		
		
			
			20.
			
			
			Have you talked over the charge(s) with your lawyer, advised him/her regarding any defense you may have to the charges and had his/her advice?
			
			
			Yes No
			
		
		
			
			21.
			
			
			Do you believe your lawyer has effectively assisted you in this case and are you satisfied with his/her advice?
			
			
			Yes No
			
		
		
			
			22.
			
			
			Do you wish to change your plea of not guilty to guilty and give up your right to a jury trial and all other previously explained constitutional rights?
			
			
			Yes No
			
		
		
			
			23.
			
			
			Is there a plea agreement?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			What is your understanding of the plea agreement?_____________________________
			
			_______________________________________________________________________
			
			_______________________________________________________________________
			
			
			&nbsp;
			
		
		
			
			24.
			
			
			Do you understand the Court is not bound by any agreement or recommendation and if the Court does not accept the plea agreement, you have the right to withdraw your plea of guilty?
			
			
			Yes No
			
		
		
			
			25.
			
			
			Do you understand that if there is no plea agreement the Court can sentence you within the range of punishment stated in question 16?
			
			
			Yes No
			
		
		
			
			26.
			
			
			Do you understand your plea of guilty to the charge(s) is after: (check one)
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			( ) no prior felony convictions
			( ) one (1) prior felony conviction
			( ) two (2) or more prior felony convictions
			List prior felony convictions to which pleading:____________________________________
			
			_________________________________________________________________________
			
			
			&nbsp;
			
		
		
			
			27.
			
			
			What (is) (are) your plea(s) to the charge(s) (and to each one of them)? ______________
			
			_________________________________________________________________________
			
			_________________________________________________________________________
			
			
			&nbsp;
			
		
		
			
			28.
			
			
			Did you commit the acts as charged in the Information?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			State the factual basis for your plea(s) (attach additional page as needed, labeled as ADDENDUM C):
			
			____________________________________________________________________________
			
			____________________________________________________________________________
			
			
			&nbsp;
			
		
		
			
			29.
			
			
			Have you been forced, abused, mistreated, or promised anything by anyone to have you enter your plea(s)?
			
			
			Yes No
			
		
		
			
			30.
			
			
			Do you plead guilty of your own free will and without any coercion or compulsion of any kind?
			
			
			Yes No
			
		
		
			
			31.
			
			
			If you are entering a plea to a felony offense, you have a right to a Pre-Sentence Investigation and Report which would contain the circumstances of the offense, any criminal record, social history and other background information about you. Do you want to have the Report?
			
			
			Yes No
			
		
		
			
			32.
			
			
			(a) Do you have any additional statements to make to the Court?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			(b) Is there any legal reason you should not be sentenced now?
			
			
			Yes No
			
		
	


HAVING BEEN SWORN, I, the Defendant whose signature appears below, make the following statements under oath:


	
		
			
			(1)
			
			
			CHECK ONE:
			
			
			&nbsp;
			
		
		
			
			&nbsp;
			
			
			______(a)
			
			
			I have read, understood and completed this form.
			
		
		
			
			&nbsp;
			
			
			______(b)
			
			
			My attorney completed this form and we have gone over the form and I understand its contents and agree with the answers. See Addendum "A".
			
		
		
			
			&nbsp;
			
			
			______(c)
			
			
			The Court completed this form for me and inserted my answers to the questions.
			
		
		
			
			(2)
			
			
			The answers are true and correct.
			
		
		
			
			(3)
			
			
			I understand that I may be prosecuted for perjury if I have made false statements to this Court.
			
		
		
			
			&nbsp;
			
			
			___________________________
			DEFENDANT
			
		
	


Acknowledged this ______ day of _______________, 20____.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;___________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Notary Public/Deputy Court Clerk/Judge


	
		
			
			33.
			
			
			I, the undersigned attorney for the Defendant, believe the Defendant understands the nature, purpose and consequence of this proceeding. (S)He is able to assist me in formulating any defense to the charge(s). I am satisfied that the Defendant's waivers and plea(s) of guilty are voluntarily given and he/she has been informed of all legal and constitutional rights.
			
		
		
			
			&nbsp;
			
			
			___________________________________________
			ATTORNEY FOR DEFENDANT
			
		
		
			
			34.
			
			
			The sentence recommendation in question 23 is correctly stated. I believe the recommendation is fair to the State of Oklahoma.
			
			
			&nbsp;
			
		
		
			
			35.
			
			
			Offer of Proof (Nolo contendere plea)_________________________________
			
			
			&nbsp;
			
		
		
			
			36.
			
			
			On entering a plea to a felony offense, the State has a right to a pre-sentence investigation and report. The State waives the right to a pre-sentence investigation?
			
			
			Yes No
			
		
		
			
			&nbsp;
			
			
			___________________________________
			ASSISTANT DISTRICT ATTORNEY
			
			&nbsp;
			
			&nbsp;
			
		
	


THE COURT FINDS AS FOLLOWS:


	
		
			
			37.
			
			
			A. The Defendant was sworn and responded to questions under oath.
			
		
		
			
			&nbsp;
			
			
			B. The Defendant understands the nature, purpose and consequences of this proceeding.
			
		
		
			
			&nbsp;
			
			
			C. The Defendant's plea(s) of _________________ is/are knowingly and voluntarily entered and accepted by the Court.
			
		
		
			
			&nbsp;
			
			
			D. The Defendant is competent for the purpose of this hearing.
			
		
		
			
			&nbsp;
			
			
			E. A factual basis exists for the plea(s) (and former conviction(s), if applicable).
			
		
		
			
			&nbsp;
			
			
			F. The Defendant is guilty as charged: (check as appropriate)

			
			
			( ) after no prior felony convictions.
			( ) after one (1) prior felony conviction.
			( ) after two (2) or more prior felony convictions.
			
			
			
		
		
			
			&nbsp;
			
			
			G. Sentencing or order deferring sentence shall be: imposed instanter ( ); or continued until the _____ day of _______________, 20___, at _________.m.

			
			If the Pre-Sentence Investigation and Report is requested, it shall be provided to the Court by the _____ day of _____________, 20___.
			
			
		
		
			
			&nbsp;
			
			
			H. Defendant is committed to:

			
			
			______ The RID Program
			______ The FORT Program
			______ The Delayed Sentencing Program for Youthful Offenders
			
			
			
		
	



&nbsp;

DONE IN OPEN COURT this ______ day of _______________, 20____.

____________________________&nbsp;__________________________________________
Court Reporter Present&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDGE OF THE DISTRICT COURT

____________________________ _____________________________________________
Deputy Court Clerk&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NAME OF JUDGE TYPED OR PRINTED


	
		
			
			Part B: Sentence on Plea
			
			
			Case No._________________

			State v. __________________

			Date: ____________________
			
		
	


[NOTE ON USE: Part B to be used with the Summary of Facts if contemporaneous with the entry of plea or may be formatted as a separate sentencing form if sentencing continued to future date.]

THE COURT SENTENCES THE DEFENDANT AS FOLLOWS:

TIME TO SERVE

1. You are sentenced to confinement under the supervision of the Department of Corrections for a term of years as follows: (list in same order as in question No. 15 in Part A)

__________________________________________________________________________________________

__________________________________________________________________________________________

__________________________________________________________________________________________

__________________________________________________________________________________________

Upon release from such confinement you shal serve a term of post-imprisonment supervision under condition prescribed by the Department of Corrections for a period of:

__________________________________________________________________________________________

__________________________________________________________________________________________

2. The sentence(s) to run:


______________________(concurrently/consecutively)

______________________NOT APPLICABLE


3. Defendant shall receive:


______ credit for time served

______ No credit for time served.


DEFERRED SENTENCE

1. The sentencing date is deferred until ____________ ____, 20___ at ___________ ___.m.

2. You (will/will not) be supervised. The terms set forth in the Rules and Conditions of Probation found in Addendum D shall be the rules you must follow during the period of deferment.

SUSPENDED SENTENCE or SUSPENDED AS TO PART

1. You are sentenced to confinement under the supervision of the Department of Corrections for a term of years as follows:

__________________________________________________________________________________________

__________________________________________________________________________________________

__________________________________________________________________________________________

To be suspended as follows:



(a) ALL SUSPENDED YES_____ NO_____

(b) suspended except as to the first ________ (months)(years) of the term(s) during which time you are to be held in the custody of the Department of Corrections, the remainder of the sentence(s) to be suspended under the terms set forth in the Rules and Conditions of Probation found in Addendum D.

______ Said period of incarceration shall be in the custody of the Department of Corrections, to be served in the _________________ County Jail, in lieu of the Department of Corrections, pursuant to the Community Service Sentencing Program, 22 O.S. Section 991a - 4.1.

______ Defendant's term of incarceration shall be calculated as:



______ Calendar days with credit for good behavior only (57 O.S. Section 65).

______ As calculated by the Sheriff with all implemented and allowable credits allowed by law.





2. The sentence(s) to run:


______________________(concurrently/consecutively)

(OR)

______________________NOT APPLICABLE


3. Defendant shall receive:



________&nbsp;Credit for time served;

________&nbsp;No credit for time served.



FINES AND COSTS

You are to pay a fine(s), costs, fees and/or restitution to the ________________ County District Court Clerk as set out in Addendum E which is attached and made a part of this Order.

[NOTE ON USE: District Courts may develop and utilize schedules for payment of fines and costs as appropriate for each district and attach as Addendum E.]

COURT CLERKS DUTY
[TRIAL JUDGE TO COMPLETE THIS SECTION]

IT IS FURTHER ORDERED that the Clerk of this Court shall register or report the following circumstances in accordance with the applicable statutory authority

( ) As to Count(s)_____, the defendant is ineligible to register to vote pursuant to Section 4-101 of Title 26.

( ) Pursuant to Section 985.1 of Title 22, the Court departed from the mandatory minimum sentence of imprisonment as to Count(s) _______.

( ) As to Count(s)_____, the defendant is subject to the Methamphetamine Offender Registry requirements as set forth in Section 2-701 of Title 63.

( ) Defendant is a lawyer and certified copies of this document shall be transmitted to the Chief Justice of the Supreme Court and the General Counsel of the Bar Association within five (5) days as set forth in Rule 7.2 of the Oklahoma Rules of Professional Conduct, 5 O.S.Supp.2014, ch. 1, app. 1-A. 

"NOTICE OF RIGHT TO APPEAL"

Sentence to Incarceration, Suspended or Deferred:

To appeal from this conviction, or order deferring sentence, on your plea of guilty, you must file in the District Court Clerk's Office a written Application to Withdraw your Plea of Guilty within ten (10) days from today's date. You must set forth in detail why you are requesting to withdraw your plea. The trial court must hold a hearing and rule upon your Application within thirty (30) days from the date it is filed. If the trial court denies your Application, you have the right to ask the Court of Criminal Appeals to review the District Court's denial by filing a Petition for Writ of Certiorari within ninety (90) days from the date of the denial. Within ten (10) days from the date the application to withdraw plea of guilty is denied, notice of intent to appeal and designation of record must be filed pursuant to Oklahoma Court of Criminal Appeals Rule 4.2(D). If you are indigent, you have the right to be represented on appeal by a court appointed attorney.

Do you understand each of these rights to appeal? Yes No

Do you Want to remain in the county jail ten (10) days
before being taken to the place of confinement? Yes No

Have you fully understood the questions that have been asked? Yes No

Have your answers been freely and voluntarily given? Yes No

I ACKNOWLEDGE UNDERSTANDING OF RIGHTS AND SENTENCE IMPOSED.













______________________________________
Defendant













I, the undersigned attorney, have advised the Defendant of his appellate rights.













______________________________________
Attorney for Defendant













Done in open court, with all parties present, this ______ day of __________________ 20____.

_______________________________ ______________________________________________
Court Reporter Present Judge of the District Court

_______________________________ ____________________________
Name of Judge Typed or Printed
Deputy Court Clerk

ADDENDUM "A"
CERTIFICATE OF DEFENSE COUNSEL

As the attorney for the defendant,_____________________________________, I certify that:

1. The Defendant has stated to me that he/she is (able/unable) to read and understand the attached form, and I have: (check appropriate option)


______ determined the Defendant is able to understand the English language.

______ determined the Defendant is unable to understand the English language and obtained _______________________________________ to interpret.


2. I have read and fully explained to the Defendant the allegations contained in the Information in this case.

3. I have read and fully explained to the Defendant all of the questions in the Plea of Guilty/Summary of Facts and the answers to the questions set out in the Summary of Facts are the Defendant's answers.

4. To the best of my knowledge and belief the statements and declaration made by the Defendant are accurate and true and have been freely and voluntarily made.

Dated this ____________ day of _________________________, 20____.















__________________________________
Attorney for the Defendant

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	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	Title 22. Criminal Procedure
&nbsp;CiteNameLevel

&nbsp;22 O.S. Form 13.8, Uniform Judgment and SentenceCited
&nbsp;22 O.S. Form 13.10, Uniform Plea of Guilty--Summary of FactsCited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
